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                   UNITED STATES OF AM ERJCA
                                        V.                                             CR TM IN AL C O M PLA INT
              M ARCO ANTOM O RODRIGUEZ-ESPARZA
                       508 W aterworltsRd.
                              Farmvill
                                     e,VA23901                                         CaseNumber:/Jjq1 T /
                         (NameandAddressofDifbndant)

                 1,theundersigned complainantstatethatthefollowing istrueand correcttothebestofmy
        knowledgeandbelief. On orabout                     03/05/2018         in               Pocahontas                  ,in
                                                              (llate)
    .   the                    W estern                D istrictof                   V ircinia                      defendant,
        (TrackStatutoryLanguageofoffense)
,       an alien,who wasarrestqd and deported from the United Statesto M exico on orabotltAugust14,1999,and who had not
        received the consentofthe Atlorney Generalofthe United States orthe Secretary ofthe U.S.DepartmentofHom eland
        Security to re-apply foradm ission,wasfound in theUnited States in the W estern DistrictofVirginia,


l
        inviolationofTitle                   8         United StatesCode,Sectionts)                             1326(a)                   .
        1furtherstate that1am a                        D eportation Officer              and thatthis com plaintis based on the
                                                            Ofl-icialTitle
:
y       follow ing facts:
                               SEE ATTACHM ENT




        Contintled on theatlached sheetand m ade apartofthiscoluplaint: X Yes                     IZI


                                                                                   Signatureofcomplainant

                                                                                   N athan Sw itzer,D eportation Officer
                                                                                   PrintedNameofcom plainant

        Sworntobeforemeand siqned in my presence:
                          .
                                 ez-f z.d p r                                at Roanok viginia
         ate                                                                       Cityand t e
                                                                                                                                 '
                                                                                                                     .-
        Hon.RobertBallou,United StatesM agistrateJudge                                     .

        NameandTitleofJudicialOfficer                                              SignatureofJudicialOfficer

                     Case 1:19-mj-00015-RSB Document 1 Filed 01/29/19 Page 1 of 4 Pageid#: 1
                                UNITED STATES DISTRICT COURT
                                W ESTERN DISTRICT OF VIRGINIA
                                      RO ANOK E DIVISION


UN ITED STA TES O F A M E RIC A

V.

M ARCO ANTONIO RODRIGUEZ-ESPARZA
                                                      CriminalNo. '/j     a
                                                                                         /

                     AFFJDAVIT IN SUPPORT OFCRIMINAL COMPLAINT

       1,Nathan Switzer,having been duly sworn,statethefollowing'
                                                                .


                                            IN TR O D UC TIO N

               I am a Deportation Oftscer with Immigration and Customs Enforcel
                                                                              nent (ICE)
Enforcelnentand RemovalOperations(ERO)division.lam a graduateofthe FederalLaw Enforcement
Training Center (ECFLETC'') and I have received specialized training in establisl
                                                                                aing alienage and
relnovability offoreign-born citizens.Ialsohave extensiveknowledge of,andexperiencereviewing,Alien

files(1$A-files'')whichalsofacilitatesmydetenuination ofwhetheraperson ispresentintheUnitedStates
unlawftllly.An A-file isa collection ofdocumentspertaining to a known alien m aintained by Citizenship

and lm migration Services,which contains,among otherinforlnation,recordsfrom any priorrem ovalfrom

the United States and the reason for such removal. The documents,incltlding fingerprintrecords ofthe

alien,are placed in the A-Gle by repl
                                    -esentativesofthe DepadmentofHomeland Security aswellasother

agencies.Through my training and experience,my dutiesinclude identifying aliens presentin the United

Statesboth lawfully and unlawfully.

               Thisaffidavitissubm itted in supportofa crim inalcom plaintand arrestw arrantcharging

theabovenameddefendantwithviolating8U.S.C j1326(a)inthat,onoraboutM arch05,2018,theabove
                                                                                            !
named defendantwas found in the United States,speciscally in Pocahontas,Virginia,which is located in
                                                    1

                                                                                                    h/A hvöh f

     Case 1:19-mj-00015-RSB Document 1 Filed 01/29/19 Page 2 of 4 Pageid#: 2                             ,
                                                                                                     '
                                                                                                         à
the W estern DistrictofV irginia,w ithoutllaving obtained the express consentofthe Attorney Generalof

the United StatesortheSecretary ofthe Departm entofHom eland Security to reapply foradm ission to the

United States,afterhaving been denied adm ission,excltlded,deported,orrem oved froln the United States.

       3.      This affidavit is based on inform ation obtained by me,inform ation conveyed to me by

other law enforcementofficers,and a review of evidence,records,and docum ents obtained during the

course ofthe investigation.This affidavitcontains the inform ation necessary to establish probable cause

butdoesnotincludeeach and every factknown to me orknown tothe government.

       4.      O n M arch 05,2018,officers authorized to enforce Title 8 of the United States Code,

fingerprinted the defendant.

               ICE ERO officers later subm itted the defendant's fingerprints to 1CE databases,which

confirmed amatch to M ARCO ANTONIO RODRIGU EZ-ESPAIIZA,anativeand citizen ofM exico,and

notacitizen ofthe United States,who (according to ICE databases)hasbeen deported from theUnited
Stateson orabout:August14,l999.

        6.     1CE conducted a diligentsearch ofrelevantDepartmentofHomeland Security databases,

atthe conclusion ofwhich,no record w asfound indicating thatthe defendanthad obtained consentfrom

the AtlorneyGeneraloftheUnited States,from the Seeretary oftheDepartmentofHom eland Securit'
                                                                                           y,for

perm ission toreapply foradm ission into the United Statesaflerhe wasrem oved on August14,l999.

                                          C O N CLU SION

        Based upon the foregoing,1sublnitthere isprobablecauseto concludethaton oraboutM arch

05,2018,the above named defendant,an alien,wasfound in theU nited States,ata location within the

W estern D istrictofVirginia,afterhaving been denied adlnission,excluded,depol-ted,orremoved from

the United Statesand having notobtained the expressconsentoftheAt-torney GeneraloftheU nited




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                                                                                                     l, 11*
    Case 1:19-mj-00015-RSB Document 1 Filed 01/29/19 Page 3 of 4 Pageid#: 3                                $à'
StatesortheSecretary ofthe Departm entofHomeland Securityto reapply foradm ission to the United

States,inviolationof8U.S.C.j l326(a).




                                             Nathan Swi
                                                      fier
                                             Deportation Officer
                                             Im m igration and CustomsEnfofcelnent



Received by reliableelectronic means

and sworn and attested to in person on
   J)îbdayof-lanuary,2019
uais
                                                     f
                                                                 zzm            é
                                             TheH onorable RobertBa lou
                                             United StatesM agistrateJudge




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